          Case 1:13-cv-00592-LB Document 22 Filed 10/04/13 Page 1 of 5




            United States Court of Federal Claims
                                          No. 13-592 C
                                         October 4, 2013

_______________________________________
BROOKFIELD RELOCATION INC.,

                      Plaintiff,                            Pre-award bid protest; Subject-
                                                            matter jurisdiction; Ripeness;
v.                                                          Standing; Mootness

UNITED STATES OF AMERICA,

                      Defendant.
____________________________________

       Seamus Curley, DLA Piper US LLP (DC), Washington, DC, for plaintiff.

      Devon A. Wolak, Commercial Litigation Branch, Civil Division, United States
Department of Justice, Washington, DC, for defendant.

                                 OPINION AND ORDER

Block, Judge.

        This bid protest concerns a procurement conducted by the Federal Bureau of
Investigation (“FBI”) for relocation services. It is directly related to two consolidated bid
protests currently before the court on motions for judgment on the administrative record, WHR
Group, Inc. v. United States, 13-cv-515, and Lexicon Gov’t Services, LLC v. United States, 13-
cv-545.
        The basic facts underlying the dispute at the center of these cases are as follows.
Presently, the FBI procures relocation services from plaintiff under an expired task order. Earlier
this year, the FBI awarded three Blanket Purchase Agreements (“BPAs”) to plaintiff’s
competitors, WHR Group, Inc. (“WHR”), Lexicon Government Services, LLC (“Lexicon”), and
Franconia Real Estate Services d/b/a Allegiance Relocation Services (“Allegiance”). These three
firms were the lowest-priced technically acceptable offerors. Plaintiff protested the awards
before the Government Accountability Office (“GAO”). The FBI then granted plaintiff a fourth
BPA, despite plaintiff being the sixth lowest-priced technically acceptable offeror. When two
other offerors, Capital Relocation Services, LLC, and TRC Global Solutions, Inc., filed GAO
protests challenging the award to plaintiff, the FBI decided to cancel all four BPAs and conduct
the procurement anew under a revised solicitation.
        Thereafter, WHR and Lexicon filed protests in this court challenging this “corrective
action.” Plaintiff intervened in those protests. At this time the court is considering whether to
permanently enjoin the FBI from (1) cancelling the BPAs, (2) conducting a new procurement,
           Case 1:13-cv-00592-LB Document 22 Filed 10/04/13 Page 2 of 5



and (3) continuing to procure relocation services from plaintiff under the expired task order.
Throughout the WHR and Lexicon protests, plaintiff in this matter and defendant have contended
that the FBI’s chosen corrective action is reasonable and proper and should be sustained by the
court.
         Despite its apparent agreement with defendant’s position, plaintiff filed the instant bid
protest challenging the award of BPAs to WHR, Lexicon, and Allegiance. In its complaint,
plaintiff contends that the FBI’s evaluation of WHR’s, Lexicon’s, and Allegiance’s proposals
was arbitrary and capricious on a number of grounds. Effectively, plaintiff seeks injunctive
relief requiring the FBI to take the corrective action it has already decided to take. Specifically,
plaintiff is asking the court to enjoin the FBI from procuring relocations services through the
BPAs awarded to WHR, Lexicon, and Allegiance. At the same time, the FBI has announced that
it will not procure relocation services through those BPAs, and will instead conduct a new
procurement for its relocation services. Indeed, the FBI is currently defending its decision to
take this corrective action in the WHR and Lexicon cases, in which plaintiff supports defendant
as a defendant-intervenor.
        Concerned that there may not exist a genuine case or controversy for it to adjudicate, the
court sua sponte ordered plaintiff to show cause that subject-matter jurisdiction exists. In its
response, plaintiff contends that there exists a genuine dispute ripe for adjudication in which
plaintiff has standing. Defendant disagrees, arguing the agreement between the parties that the
FBI’s corrective action should stand deprives the court of a justiciable case or controversy. For
the reasons stated herein, the court agrees with defendant that it lacks subject-matter jurisdiction.
         Under Article III of the Constitution, the “judicial Power of the United States” is vested
in courts empowered to decide certain “Cases” and “Controversies.” U.S. Const. Art. III. These
terms, though not defined in the Constitution itself, refer to the “common understanding of what
activities are appropriate . . . to courts.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560
(1992). Historically, this has meant that courts do not answer abstract legal questions; rather
they adjudicate concrete disputes involving at least two parties with opposing interests. As the
Supreme Court explained in Flast v. Cohen, the case or controversy requirement serves a “dual
function.” 392 U.S. 83, 95 (1968). First, the requirement “limit[s] the business of federal courts
to questions presented in an adversary context and in a form historically viewed as capable of
resolution through the judicial process.” Id. Second, the case or controversy requirement
“define[s] the role assigned to the judiciary in a tripartite allocation of power to assure that the
federal courts will not intrude into areas committed to the other branches of government.” Id.
“Justiciability is the term of art employed to give expression to this dual limitation placed upon
federal courts by the case-and-controversy doctrine.” Id.
        The Court of Federal Claims, of course, is not an Article III court. Anderson v. United
States, 344 F.3d 1343, 1350 n.11 (Fed. Cir. 2003); Kanemoto v. Reno, 41 F.3d 641, 644 (Fed.
Cir. 1994); cf. Williams v. United States, 289 U.S. 553, 567-81 (1933). Nevertheless, it is well-
settled that Congress has made the various “justiciablilty” doctrines of Article III applicable to
this court. Anderson, 344 F.3d at 1350 n.11; Glass v. United States, 258 F.3d 1349, 1355 (Fed.
Cir. 2001). To be sure, Congress has provided by statute that the final judgments of this court
have binding, conclusive effect in the “case[s]” and “controvers[ies]” within this court’s
jurisdiction. 28 U.S.C. § 2519. In short, “[a]lthough this [c]ourt is not an Article III court, the
‘case or controversy’ requirement of Article III is still applicable.” First Hartford Corporate

                                                -2-
           Case 1:13-cv-00592-LB Document 22 Filed 10/04/13 Page 3 of 5



Pension Plan & Trust v. United States, 54 Fed. Cl. 298, 304 n.10 (2002) (citing Freytag v.
Comm’r, 501 U.S. 868, 889 (1991)).
        A basic aspect of the requirement of justiciability is that a case or controversy must
involve parties that are “adverse.” See Richardson v. Ramirez, 418 U.S. 24, 36 (1974) (“[W]e
are limited by the case-or-controversy requirement of Art. III to adjudication of actual disputes
between adverse parties.”). The need for “adverse” parties is a requirement that the parties have
opposing interests—that they disagree about who should be entitled to a sum of money, or about
whether a defendant should be enjoined from taking a certain action affecting the plaintiff, or
about whether a criminal defendant should have his conviction overturned. Something real must
be at stake, and the parties’ interests with respect to that real thing must be antagonistic. See
Chicago & Grand Trunk R. Co. v. Wellman, 143 U.S. 339, 344-45 (1982).
     The Supreme Court gave its classic elucidation of the requirement of adversity in
Welman:
       Whenever, in pursuance of an honest and actual antagonistic assertion of rights by
       one individual against another, there is presented a question involving the validity
       of any act of any legislature, state or federal, and the decision necessarily rests on
       the competency of the legislature to so enact, the court must, in the exercise of its
       solemn duties, determine whether the act be constitutional or not; but such an
       exercise of power is the ultimate and supreme function of courts. It is only in the
       last resort, and as a necessity in the determination of real, earnest, and vital
       controversy between individuals. It never was the thought that, by means of a
       friendly suit, a party beaten in the legislature could transfer to the courts an
       inquiry as to the constitutionality of the legislative act.
Id. at 345 (emphasis added). Since Welman, the Supreme Court has applied the principle that
federal courts may not adjudicate disputes where the parties have the same interests in the
context of declaratory judgments. See Poe v. Ullman, 367 U.S. 497, 506 (1961) (“The Court has
been on the alert against use of the declaratory judgment device for avoiding the rigorous
insistence on exigent adversity as a condition for evoking Court jurisdiction.”). For instance, in
C.I.O. v. McAdory, 325 U.S. 472 (1945), the petitioners sought to enjoin enforcement of two
sections of an Alabama statute. The respondent had agreed not to enforce one of those sections
so long as another case challenging the validity of that section was pending. The Court held that
the petitioners and the respondent were not adverse as to that section and further held that “[t]he
Court will not pass upon the constitutionality of legislation in a suit which is not adversary or in
which there is no actual antagonistic assertion of rights.” Id. at 475 (internal citations omitted).
        Although here there is no challenge to the constitutionality of legislation, the principle of
McAdory, Ullman, and Welman, applies. Because plaintiff and defendant agree with one another
that the awards to WHR, Lexicon, and Allegiance are invalid and should be set aside, that issue
does not present a justiciable case or controversy between them. Defendant seeks to do the very
thing plaintiff requests: cancel the awards to WHR, Lexicon, and Allegiance, and conduct a new
procurement under a revised solicitation. The only reason defendant has not already taken this
action is the pendency of the WHR and Lexicon suits, in which plaintiff and defendant are on the
same side. Accordingly, plaintiff and defendant are not truly adverse parties. For that reason,
there is no justiciable case or controversy.

                                                -3-
           Case 1:13-cv-00592-LB Document 22 Filed 10/04/13 Page 4 of 5



        Moreover, even granting that there was adversity between plaintiff and defendant before
defendant proposed taking corrective action, that proposed corrective action renders any case or
controversy moot. “A case becomes moot—and therefore no longer a ‘Case’ or ‘Controversy’
for purposes of Article III—‘when the issues presented are no longer ‘live’ or the parties lack a
legally cognizable interest in the come.’” Already, LLC v. Nike, Inc., 133 S. Ct. 721, 726 (2013)
(quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982) (per curiam)). When the awards to WHR,
Lexicon, and Allegiance were initially made, there were certainly “live” issues between plaintiff
and defendant, as evidenced by the GAO protest plaintiff filed, supra at 1, challenging those
awards. But those live issues were mooted when defendant sought to do exactly as plaintiff
wanted and conduct a new procurement.
        It is true, of course, that a defendant cannot ordinarily moot a case or controversy simply
by promising to cease the challenged conduct. Id. at 726. Instead, a defendant must show that
that conduct is not likely to reoccur. Id. Defendant has made that showing here. It would make
no sense for defendant to issue the revised solicitation on August 5 if it planned to treat WHR’s,
Lexicon’s, and Allegiance’s BPAs as validly awarded. The only reason defendant did not
proceed to conduct a new procurement under that revised solicitation was that this court
temporarily enjoined defendant from doing so on August 12. The court is therefore persuaded
that the only circumstance under which defendant would treat the WHR, Lexicon, and
Allegiance BPAs as valid is if the court, in the WHR and Lexicon cases, permanently enjoins
defendant from cancelling them.
        Additionally, any dispute that does exist between plaintiff and defendant is not ripe for
judicial resolution. As with other justiciability doctrines, “the Court of Federal Claims must
address ripeness as a ‘threshold consideration’ before addressing the merits.” Casitas Mun.
Water Dist. v. United States, 708 F.3d 1340, 1351-52 (quoting Palazzolo v. Rhode Island, 533
U.S. 606, 618 (2001)). Ripeness depends on two factors: “the fitness of the issues for judicial
decision and the hardship to the parties of withholding court consideration.” Abbott Labs. v.
Gardner, 387 U.S. 136, 149 (1967). “When a party challenges government action, the first
factor becomes a question of whether the challenged conduct constitutes a final agency action.”
Systems Application & Technologies, Inc. v. United States, 691 F.3d 1374, 1384 (Fed. Cir. 2012)
(citing Tokyo Kikai Seisakusho, Ltd. v. United States, 529 F.3d 1352, 1363 (Fed. Cir. 2008); U.S.
Ass’n of Imps. of Textiles & Apparel v. U.S. Dep’t of Commerce, 413 F.3d 1344, 1349-50 (Fed.
Cir. 2005)). “As a general matter, two conditions must be satisfied for an agency action to be
‘final’: First, the action must mark the consummation of the agency’s decisionmaking process—
it must not be of a merely tentative or interlocutory nature. And second, the action must be one
by which rights or obligations have been determined, or from which legal consequences will
flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (internal quotation marks and citations
omitted).
        As to the fitness of the “dispute” between the parties for judicial resolution, it is clear that
plaintiff’s protest challenges entirely speculative government conduct. Plaintiff acknowledges
that defendant “has made multiple indications in the procurement record and during the related
protest proceedings that it does not intend to move forward with performance under the invalid
WHR, Lexicon, and Allegiance BPAs,” but nevertheless contends that “there are counter-indicia
in the record that . . . constitute concrete steps towards the Agency’s use of the BPAs, which
could be construed as an endorsement—albeit one that is inconsistent with the record—of their
validity.” Pl.’s Response to Order to Show Cause, ECF Dkt. 21, at 7-8. But ripeness does not

                                                 -4-
           Case 1:13-cv-00592-LB Document 22 Filed 10/04/13 Page 5 of 5



hinge on whether there have been “counter-indicia,” inconsistent with the government’s own
representations, that “could be construed” as endorsing the challenged conduct. Rather, ripeness
hinges on the existence of a “final agency action” that is neither “tentative” nor “interlocutory,”
but “by which rights or obligations have been determined, or from which legal consequences will
flow.” Bennett, 520 U.S. at 177-78. That “final agency action” is the only “concrete step” that
will satisfy the “fitness” prong of the ripeness doctrine. Here, plaintiff has failed to show that
defendant has determined to accept the validity of the WHR, Lexicon, and Allegiance BPAs.
And given that defendant is currently defending its decision to cancel those BPAs and conduct a
new procurement, it is unreasonable to suppose that such a final agency action has taken place.
        Nor does the hardship prong favor a finding of ripeness. The issues presented by this
protest are precisely the issues being adjudicated in the WHR and Lexicon protests. The only
difference is that WHR and Lexicon, unlike plaintiff, actually disagree with defendant’s position
on the validity of their BPAs and the propriety of the corrective action. There is no reason why
plaintiff, as intervenor-defendant in those cases, cannot argue that the BPAs are invalid and the
corrective action is justified—in fact, plaintiff, as defendant-intervenor, has argued just that.
        Finally, the lack of ripeness illustrates that, as of yet, plaintiff has not suffered an injury
sufficient to give it standing. Article III standing requires a plaintiff to show (1) a “concrete and
particularized,” as well as “actual or imminent,” injury in fact, (2) that the injury is “fairly
traceable” to the challenged government conduct, and (3) that the injury is “like” to be
“redressed by a favorable decision.” Lujan, 504 U.S. at 560 (1992). In the context of a post-
award bid protest, the injury an actual or prospective bidder must show is that the agency action
has deprived the bidder of a “substantial chance” to win the award. Orion Technology, Inc. v.
United States, 704 F.3d 1344, 1348 (Fed. Cir. 2013) (citing Rex Serv. Corp. v. United States, 448
F.3d 1305, 1308 (Fed. Cir. 2006)). Here, defendant is currently defending a proposed corrective
action that would cancel awards to plaintiff’s competitors and invite a new procurement in
accordance with plaintiff’s wishes. Since plaintiff’s injury is entirely contingent upon defendant
losing in the WHR and Lexicon protests, it is not possible to conclude that plaintiff has currently
suffered the injury requisite for standing.
        In short, the court concludes that plaintiff’s protest fails to meet the standards for several
justiciability doctrines. First, the parties are not truly “adverse.” Second, whatever adversity
may have once existed, it has been rendered “moot” by defendant’s proposed corrective action.
Third, to the extent any dispute exists between the parties, it is not “ripe” for adjudication.
Fourth, and finally, because plaintiff’s asserted injury has not come to fruition, plaintiff has no
standing to maintain this protest.
        In conclusion, for the foregoing reasons, plaintiff’s protest is DISMISSED, without
prejudice, for lack of subject-matter jurisdiction. The Clerk is directed to take the necessary
steps to dismiss this matter.
       IT IS SO ORDERED.


                                                       s   /Lawrence J. Block
                                                       Lawrence J. Block
                                                       Judge

                                                 -5-
